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U.S. Department of Justice

Andrew E. Lelling
United States Attorney
District of Massachusetts

Main Reception: (617) 748-3100 John Joseph Moakley United States
Courthouse

1 Courthouse Way

Suite 9200 ,

Boston, Massachusetts 02210

~ April 14, 2020

BY ELECTRONIC MAIL TO nathanlaw@earthlink.net

Geoffrey G. Nathan, Esq.
132 Boylston Street, Sth Floor
Boston, Massachusetts 02116

Re: Austin Nedved
Dear Mr. Nathan:

The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and
~ your client, Austin Nedved (“Defendant”), agree as follows with respect to the above-referenced
case:

1. Change of Plea

Defendant will waive indictment and plead guilty to an Information charging him with
aiding and abetting wire fraud, in violation of 18 U.S.C. §§ 1343 and 2 (Count 1), and with
conspiracy to commit money laundering, in violation of 18 U.S.C. § 1956(h) (Count 2). Defendant
admits that he committed the crimes specified in the Information and is in fact guilty of each one.
Defendant also agrees to waive venue, to waive any applicable statute of limitations, and to waive
any legal or procedural defects in the Information. .

Defendant agrees to the accuracy of the attached statement of facts.
2. Penalties

Defendant faces the following maximum penalties:

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For aiding and abetting wire fraud, incarceration for 20 years, supervised release for 3
years, a fine of $250,000 or twice the gross gain or twice the gross loss, whichever is greater;
restitution; and forfeiture to the extent charged in the Information.

For money laundering conspiracy, incarceration for 20 years, supervised release for 3
years, a fine of $500,000 or twice the value of the funds involved in the financial transactions that
were the object of the conspiracy, whichever is greater; and forfeiture to the extent charged in the
Information.

3, Fed. R. Crim. P. 11(c)(1)(C) Plea

This Plea Agreement is made pursuant to Fed. R. Crim. P. 11(c)(1)(C), and Defendant’s
guilty plea will be tendered pursuant to that provision. In accordance with Rule 11(c)(1)(C), if the
District Court (“Court”) accepts this Plea Agreement, the Court must include the agreed
disposition in the judgment. If the Court rejects any aspect of this Plea Agreement, the U.S.
Attorney may deem the Plea Agreement null and void. Defendant understands and acknowledges
that he may not withdraw his plea of guilty unless the Court rejects this Plea Agreement under
Fed. R. Crim. P. 11(c)(5).

4, Sentencing Guidelines

The U.S. Attorney will take the following positions at sentencing under the United States
Sentencing Guidelines (“USSG” or “Guidelines”). Except where noted below, the parties agree
that Defendant’s total adjusted offense level under the Guidelines is calculated as follows:

The parties agree that Count 1 (bank fraud) and Count 2 (money laundering conspiracy)
group within the meaning of USSG § 3D1.2.

¢ The parties agree that Defendant’s base offense level is 7. (USSG
§ 2B1.1(a)(1));

e The parties agree that Defendant’s offense level is increased by 14 levels
because the loss was more than $550,000 but not more than $1,500,000.
(USSG § 2B1.1(6)(1)(H));

e The U.S. Attorney will argue that the Defendant’s offense level is increased
by 2 levels because the offense resulted in substantial financial hardship to
one or more victims. (USSG § 2B1.1(b)(2)(C)). Defendant reserves the right

to oppose this increase; .

« The parties agree that Defendant’s offense level is increased by 2 levels
because a substantial part of the fraudulent scheme was committed from.
outside the United States and the offense otherwise involved sophisticated
means and the defendant intentionally engaged in or caused the conduct

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constituting sophisticated means. (USSG § 2B1.1(b)(10)(B) and (C));

e The parties agree that Defendant’s offense level is increased by 2 levels
because his offense of conviction includes 18 U.S.C. § 1956. (USSG §
2S1.1(b)(2)(B)).

e The USS. Attorney will argue that Defendant’s offense level is increased by 2
levels because he knew or should have known that a victim of the offense was
a vulnerable victim. (USSG § 3A1.1(b)(1)). Defendant reserves the right to
oppose this increase; and

e The parties agree that Defendant’s offense level is decreased by 3 levels
because Defendant has accepted responsibility for Defendant’s crimes (USSG
§ 3E1.1).

The U.S. Attorney’s agreement that the disposition set forth below is appropriate in this
case is based, in part, on Defendant’s prompt acceptance of personal responsibility for the offenses
of conviction in this case.

The U.S. Attorney may, at his sole option, be released from his commitments under this —
Plea Agreement, including, but not limited to, his agreement that Paragraph 5 constitutes the
appropriate disposition of this case, if at any time between Defendant’s execution of this Plea
Agreement and sentencing, Defendant:

(a) Fails to admit a complete factual basis for the plea;

(b) Fails to . truthfully admit Defendant’s conduct in the offense(s) of
conviction;

(c) Falsely denies, or frivolously contests, relevant conduct for which
Defendant is accountable under USSG § 1B1.3;

-(d) Fails to provide truthful information about Defendant’s financial status;
(ce) Gives false or misleading testimony in any proceeding relating to the
criminal conduct charged in this case and any relevant conduct for which

Defendant is accountable under USSG § 1B1.3;

(f) Engages in acts that form a basis for finding that Defendant has obstructed
or impeded the administration of justice under USSG § 3C1.1;

(g) Intentionally fails to appear in Court or violates any condition of release;

(h) Commits a crime;

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(i) Transfers any asset protected under any provision of this Plea Agreement;
or

(j) Attempts to withdraw Defendant’s guilty plea.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

5, Agreed Disposition

Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the U.S. Attorney and Defendant agree that the
following is a reasonable and appropriate disposition of this case:

(a) - incarceration at the low end of the Guidelines sentencing range as calculated
by the Court;

(b) _a fine within the Guidelines sentencing range as calculated by the parties,
unless the Court finds that Defendant is not able, and is not likely to become
able, to pay a fine;

(c) 36 months of supervised release;

(d) amandatory special assessment of $200, which Defendant must pay to the
Clerk of the Court on or before the date of sentencing;

(e) restitution totaling $569,750.80; and
(f) forfeiture as set forth in Paragraph.8.

The U.S. Attorney and Defendant further agree that, pursuant to 18 U.S.C. § 3584(a), the
Court should run 12 months of Defendant’s sentence in this case consecutively to the sentence
imposed on Defendant in United States v. Ologeanu et al, 5:19-cr-00010-JMH-MAS, in the United
States District Court for the District of Kentucky (“the Ologeanu Matter”). The U.S. Attorney and
the Defendant further agree that the remainder of the Defendant’s sentence should be concurrent
with Defendant’s sentence in the Ologeanu Matter.

The U.S. Attorney and Defendant further agree that the sentence imposed in this case is
not intended to affect Defendant’s ability to earn good time credit on the sentence he serves in the

Ologeanu Matter.

6. Protection of Assets for Payment of Restitution, Forfeiture and Fine

Without the written approval of the U.S. Attorney, Defendant agrees not to transfer, or to
cause or allow anyone else to transfer, (a) any asset that has been restrained by the Court or which

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Defendant has agreed to forfeit under this Agreement; or (b) any other asset in which Defendant

has an interest.

The parties also agree, however, to the following exceptions to the above. Defendant i is
free to transfer, or to cause or allow others to transfer:

(a)

(c)

Assets subject to superior, secured interests of innocent third parties, in
which Defendant has an equity interest of less than $10,000;

Ordinary living expenses necessary to house, clothe, transport and feed

- Defendant and those to whom Defendant owes a legal duty of support, so

long as such assets do not exceed $5,000 per month; and

Attorney’s fees incurred in connection with this criminal case.

The prohibitions in this paragraph remains in effect until Defendant has paid any fine,
forfeiture, or restitution ordered by the Court.

Defendant also agrees to complete, truthfully and accurately, the enclosed sworn financial
statement within 30 days of signing this Agreement.

7. Waiver of Right to Appeal and to Bring Future Challenge

(a)

(b)

Defendant has conferred with his attorney and understands that he has the
right to challenge his conviction in the United States Court.of Appeals for
the First Circuit (“direct appeal”). Defendant also understands that, in some
circumstances, Defendant may be able to challenge his conviction in a
future proceeding (collateral or otherwise), such as pursuant to a motion
under 28 U.S.C. § 2255 or 28 U.S.C. § 2241. Defendant waives any right
to challenge Defendant’s conviction on direct appeal or in any future
proceeding (collateral or otherwise).

Defendant has conferred with his attorney and understands that defendants
ordinarily have a right to challenge in a direct appeal their sentences
(including any orders relating to the terms and conditions of supervised
release, fines, forfeiture, and restitution) and may sometimes challenge their
sentences (including any orders relating to the terms and conditions of
supervised release, fines, forfeiture, and restitution) in a future proceeding
(collateral or otherwise). The rights that are ordinarily available to ‘a
defendant are limited when a defendant enters into a Rule 11(c)(1)(C)
agreement. In this case, Defendant waives any rights Defendant may have
to challenge the agreed-upon sentence (including any agreement relating to —
the terms and conditions of supervised release, fines, forfeiture, and
restitution) on direct appeal and in a future proceeding (collateral or
otherwise), such as pursuant to 28 U.S.C. § 2255 and 28 U.S.C. § 2241.

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Defendant also waives any right Defendant may have under.18 U.S.C.
§ 3582(c)(2) to ask the Court to modify the sentence, even if the USSG are
later amended in a way that appears favorable to Defendant. Likewise,
Defendant agrees not to seek to be resentenced with the benefit of any
change to Defendant’s Criminal History Category that existed at the time of
Defendant’s original sentencing. Defendant also agrees not to challenge the
sentence in an appeal or future proceeding (collateral or otherwise) even if
the Court rejects one or more positions advocated by any party at
sentencing. In sum, Defendant understands and agrees that in entering into
this Plea Agreement, the parties intend that Defendant will receive the
benefits of the Plea Agreement and that the sentence will be final.

(c) The U.S. Attorney agrees that he will not appeal the imposition by the Court
of the sentence agreed to by the parties as set out in Paragraph 5, even if the
Court rejects one or more positions advocated by either party at sentencing.

(d) Regardless of the previous subparagraphs, Defendant reserves the right to
claim that: (i) Defendant’s lawyer rendered ineffective assistance of counsel
under Strickland v. Washington; or (ii) that the prosecutor or a member of
law enforcement involved in this case engaged in misconduct serious
enough to entitle Defendant to have his conviction or sentence overturned.

8. Forfeiture

Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant's
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.

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The assets to be forfeited specifically include, without limitation, the following:
a. $551,987.95, to be entered in the form of an Order of Forfeiture (Money Judgment).

Defendant admits that $551,987.95 is subject to forfeiture on the grounds.that it is equal to
proceeds of Defendant’s offense and/or it was involved in Defendant’s offense.

Defendant acknowledges and agrees that the amount of the forfeiture money judgment
represents the amount of proceeds that the Defendant obtained (directly or indirectly), and/or
facilitating property and/or property involved in, the crimes to which Defendant is pleading guilty
and that, due at least in part to the acts of Defendant, the proceeds or property have been transferred
to, or deposited with, a third party, spent, cannot be located upon exercise of due diligence, placed
beyond the jurisdiction of the Court, substantially diminished in value, or commingled with other

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property which cannot be divided without difficulty. Accordingly, Defendant agrees that the
United States is entitled to forfeit as “substitute assets” any other assets of Defendant up to the
value of the now missing directly forfeitable assets.

Defendant agrees to consent to the entry of orders of forfeiture for such property and waives
the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J), 32.2, and 43(a) regarding
notice of the forfeiture in the charging instrument, advice regarding the forfeiture at the change-
of-plea hearing, announcement of the forfeiture at sentencing, and incorporation of the forfeiture
in the judgment. Defendant understands and agrees that forfeiture shall not satisfy or affect any
fine, lien, penalty, restitution, cost of imprisonment, tax liability or any other debt owed to the .
United States.

If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant’s assets at the request of the U.S. Attorney. Defendant agrees that the United States
Department of Probation may share any financial information about the Defendant with the United
States Attorney’s Office. ,

Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement.

Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets. .

Without limiting the above, Defendant states that Defendant is the sole and lawful owner
of, and consents to forfeiture of, the following substitute assets pursuant to this agreement:

a. $1,800 in United States currency, seized on December 14, 2018, from Fnu Lnu, in
Boston, Massachusetts; and

b. $5,000 in United States currency seized from Austin Nedved on June 26, 2019,
from 495 Summer Street, Suite 600, Boston, Massachusetts.

Without limiting the generality of the foregoing, Defendant hereby specifically waives and
releases Defendant’s claims to:

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a,  - $440,000 in United States currency, seized on December 11, 2018, from Austin
Nedved, in Shrewsbury Massachusetts;

b. $33,654.95 in United States currency, seized on December 11, 2018, from Austin
Nedved, in Shrewsbury Massachusetts; and

C. $670 in United States currency, seized on December 11, 201 8, from Austin Nedved,
in Northborough, Massachusetts .

seized by, or turned over to the Department of Homeland Security, Customs Border Protection on
or about the dates above, as to which, Defendant hereby acknowledges, Defendant received actual
notice of administrative or civil judicial forfeiture proceedings on January 8, 2019.

Without limiting the generality of the foregoing, Defendant hereby also specifically waives
and releases Defendant’s claims to:

a. $8,000 in United States currency, seized on December 14, 2018, from Cong
Nguyen, in Boston, Massachusetts;

b. $1,500 in United States currency, seized on December 14, 2018, from Joseph
Fallstrom, in Boston, Massachusetts;

C. $9,000 in United States currency, seized on December 14, 2018, from Joseph
Fallstrom, in Boston, Massachusetts; .

d. $10,000 in United States currency, seized on December 14, 2018, from J. Merrell,
in Boston, Massachusetts;

e. $11,220 in United States currency, seized on December 14, 2018, from Jordan
Dunbar, in Boston, Massachusetts;

f. $1,700 in United States currency, seized on December 14, 2018, from Charles
Thomas, in Boston, Massachusetts;

g. $1,800 in United States currency, seized on December 14, 2018, from Anthony
Ufkin, in Boston, Massachusetts;

h. $1,500 in United States currency, seized on December 14, 2018, from Russ
Williams, in Boston, Massachusetts;

i. $4,400 in United States currency, seized on December 14, 2018, from Adam Vito,
in Boston, Massachusetts;

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j. $2,000 in United States currency, seized on December 14, 2018, from RDT LNU,
in Boston, Massachusetts;

k. $10,743 in United States currency, seized on December 14, 2018, from Holden
Smith, in Boston, Massachusetts; and

1. $9,000 in United States currency, seized on December 14, 2018, from Jon Wray, in
Boston, Massachusetts

seized by, or turned over to the United States Postal Inspection Service on or about the dates above,
as to which, Defendant hereby acknowledges, Defendant received actual notice of administrative |
or civil judicial forfeiture proceedings on or about February 7, 2019. .

9. Information For Presentence Report

Defendant agrees to provide all information requested by the U.S. Probation Office
concerning Defendant’s assets. .

10. Civil Liability

By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant’s conduct and plea of guilty to the charges specified in Paragraph 1 of this
Plea Agreement.

11. Withdrawal of Plea by Defendant or Rejection of Plea by Court

Should Defendant move to withdraw his guilty plea at any time, or should the Court reject
the parties’ agreed-upon disposition of the case or any other aspect of this Plea Agreement, this
Plea Agreement shall be null and void at the option of the U.S. Attorney. In this event, Defendant
agrees to waive any defenses based upon the statute of limitations, the constitutional protection
_against pre-indictment delay, and the Speedy Trial Act with respect to any and all charges that
could have been timely brought or pursued as of the date of this Plea Agreement.

12. _ Breach of Plea Agreement

‘If the U.S. Attorney determines that Defendant has failed to comply with any provision of
this Plea Agreement, has engaged in any of the activities set forth in Paragraph 4(a)-(j), has violated
any condition of Defendant’s pretrial release, or has committed any crime following Defendant’s
execution of this Plea Agreement, the U.S. Attorney may, at his sole option, be released from his
commitments under this Plea Agreement in their entirety by notifying Defendant, through counsel
or otherwise, in writing. The U.S. Attorney may also pursue all remedies available to him under
the law, regardless whether he elects to be released from his commitments under this Plea
Agreement. Further, the U.S. Attorney may pursue any and all charges which otherwise may have

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been brought against Defendant and/or have been, or are to be, dismissed pursuant to this Plea

Agreement. Defendant recognizes that his breach of any obligation under this Plea Agreement
shall not give rise to grounds for withdrawal of Defendant’s guilty plea, but will give the U.S.

Attorney the right to use against Defendant before any grand jury, at any trial or hearing, or for

sentencing purposes, any statements made by Defendant and any information, materials, |
documents or objects provided by Defendant to the government, without any limitation, regardless

of any prior agreements or understandings, written or oral, to the contrary. In this regard,

Defendant hereby waives any defense to any charges that Defendant might otherwise have based

upon any statute of limitations, the constitutional protection against pre-indictment delay, or the

Speedy Trial Act.

13, Who is Bound by Plea Agreement

This Plea Agreement is limited to the U.S. Attorney for the District of Massachusetts, and
cannot and does not bind the Attorney General of the United States or any other federal, state or
local prosecutive authorities.

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14, Modifications to Plea Agreement

This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorneys Seth B. Kosto and

David J. D’ Addio.
Sincerely,

ANDREW E. LELLING
United States Attorney

he kphS

ZAMY- HARMAN BURKART
Chief, Cybercrime Unit

A 18 Ef

SETH B. KOSTO
DAVID J. D?ADDIO
Assistant U.S. Attorneys

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ACKNOWLEDGMENT OF PLEA AGREEMENT

I have read this letter in its entirety and discussed it with my attorney. | hereby
acknowledge that (a) it accurately sets forth my pled agreement with the United States Attorney’s
Office for the District of Massachusetts; (b) there are no unwritten agreements between me and
the United States Attorney’s Office; and (c) no official of the United States has tnade any unwritten
promises or representations to me, in connection with my change of plea. In addition, I have
received no prior offers to resolve this case. I understand the crimes to which I have agreed to
plead guilty, the maximum penalties for those offenses, and the Sentencing Guideline penalties
potentially applicable to them, I am satisfied with the legal representation provided to me by my
attorney. We have had sufficient time to meet and discuss my case. We have discussed the charges
against me, possible defenses I might have, the terms of this Plea Agreement and whether I should
go to trial: I am entering into this Plea Agreement freely, voluntarily, and knowingly because I
am guilty ofthe offenses to which I am pleading guilty and J believe this Plea Agreement is in my
best interest.

Austin Ne ved
Defendant

Date: 5/23/20

I certify that Austin Nedved has read this Plea Agreement and that we have discussed its
meaning. I believe he understands the Plea Agreeinent and is entering into the Plea Agreement
freely, voluntarily and knowingly. I also certify that the U.S. Attorney has not extended any other
offers to resolve this matter,

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Geoffrey Nathan, Esq.
Attorney for Defendant

Date: <\ B22 6

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